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  Fill in this information   to identify your case:


  United States BankruptcyCourt for the:

  CENTRALDISTRICTOF CALIFORNIA,LOS ANGELES DIVISION

  Case number (if known)        _________________                                 Chapteryouarefiling under:

                                                                                  • Chapter 7
                                                                                  o Chapter 11
                                                                                  o Chapter 12
                                                                                  o Chapter 13                                   o    Check if this an amended
                                                                                                                                      filing




 Official Form 101
 Voluntary Petition for Individuals Filing for Bankruptcy                                                                                         12/17
 The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a joint
 case-and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car," the answer
 would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1and Debtor 2to distinguish
 between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all
 of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.


            Identify Yourself

                                       About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
 1.   Your full name

      Write the name that is on        Mary Hanizel
      yourgovernment-issued            First name
      pictureidentification(for                                                                        First name
      example,yourdriver's            Agaza
      licenseor passport).
                                      Middle name                                                      Middle name
      Bringyourpicture              Fuentes
      identificationto your meeting-;.-:::::~=:-:--:;-~;r:--;;::;-~;--;-;-:~              _
      with the trustee.            Last name and Suffix (Sr., Jr., II, III)                           Last name and Suffix (Sr., Jr., II, III)



 2.   All other names you have
      used in the last 8 years
      Includeyour marriedor
      maiden names.



 3.   Only the last 4 digits of
      your Social Security
      number or federal
                                      xxx-xx-8467
      Individual Taxpayer
      Identification number
      (ITIN)




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Debtor 1     Fuentes,    Mary    Hanizel    Agaza                                                                   Case number (if known)




                                     About Debtor 1:                                                         About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have
     used in the last 8 years
                                     •     I have not used any business name or EINs.                        o I have not used any business       name or EINs.


     Include trade names and         Business name(s)                                                        Business name(s)
     dOing business as names

                                     EINs                                                                    EINs




5.   Where you live                                                                                          If Debtor 2 lives at a different   address:

                                     21602   Figueroa    St
                                     UnitS
                                     Carson,    CA 90745-1967
                                     Number, Street, City, State & ZIP Code                                  Number, Street, City, State & ZIP Code

                                     Los Angeles
                                     County                                                                  County

                                     If your mailing address is different from the one                       If Debtor 2's mailing address is different from yours, fill it in
                                     above, fill it in here. Note that the court will send any               here. Note that the court will send any notices to this mailing
                                     notices to you at this mailing address.                                 address.



                                     Number, P.O. Box, Street, City, State & ZIP Code                        Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing            Check one:
     this district to file for                                                                              Check one:
     bankruptcy
                                     •       Over the last 180 days before filing this petition, I
                                             have lived in this district longer than in any other           o       Over the last 180 days before filing this petition, I have
                                             district.                                                              lived in this district longer than in any other district.

                                     o       I have another reason.                                         o       I have another reason.
                                             Explain. (See 28 U.S.C. § 1408.)                                       Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Fuentes, Mary Hanizel Agaza                                                                  Case number(if known)


           Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief descriptionof each.see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form
     Bankruptcy Code you are 2010)). Also, go to the top of page 1 and checkthe appropriatebox.
     choosing to file under
                                 •
                                Chapter 7
                                 D Chapter 11
                                 D Chapter 12
                                 D Chapter 13



S.   How you will pay the fee    •       I will pay the entire fee when I file my petition. Pleasecheckwith the clerk's office in your localcourt for moredetails
                                         about howyou maypay.Typically,if you are payingthe fee yourself,you maypaywith cash, cashier'scheck,or moneyorder.
                                         If your attorneyis submittingyour paymenton your behalf,yourattorneymaypaywith a credit card or checkwith a
                                         pre-printedaddress.
                                 D       I need to pay the fee in installments. If you choosethis option,sign and attachthe Application for Individuals to Pay The
                                         Filing Fee in Installments (Official Form 103A).
                                 D       I request that my fee be waived (Youmayrequestthis optiononly if you are filing for Chapter7. 8y law,a judge may,but is
                                         not requiredto, waiveyourfee, and maydo so onlyif your incomeis less than 150%of the official povertylinethat appliesto
                                         your familysize and you are unableto paythe fee in installments).If you choosethis option,you mustfill out the Application
                                         to Have the Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petition.


9.   Have you filed for         • No.
     bankruptcy within the last
     Syears?                    Dyes.
                                              District ____________________           ~en      _____________           Case number
                                              District ____________________           ~en      _________               Case number
                                              District ____________________           ~en      _________               Case number


10. Are any bankruptcy cases .No
    pending or being filed by
    a spouse who is not filing Dyes.
    this case with you, or by
    a business partner, or by
    an affiliate?
                                              Debtor _______________________________________                          Relationshipto you
                                              District ____________________ ~en   _______                             Case number,if known
                                              Debtor _______________________________________                          Relationshipto you
                                              District ___________________  ~en   _______________                     Case number,if known


11. Do you rent your             • No.         Go to line 12.
    residence?
                                 Dyes.         Has your landlord obtainedan evictionjudgment against you?
                                               D       No. Go to line 12.

                                               D       Yes. Fill outlnitial Statement About an Eviction Judgment Against You (Form 101A)and file it as part of this
                                                       bankruptcypetition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                   page3
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Debtor 1     Fuentes, Mary Hanizel Agaza                                                                            Case number (if known)



           Report About Any Businesses          You Own as a Sole Proprietor

12. Are you a sole proprietor
      of any full- or part-time       •   No.       Go to Part 4.
      business?
                                      DYes.         Name and location of business

      A sole proprietorship is a
      business you operate as an                    Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership,
      or LLC.
                                                    Number, Street, City, State & ZIP Code
      If you have more than one
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                             Check the appropriate box to describe your business:
                                                    o       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                    o       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                    o       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                    o       Commodity Broker (as defined in 11 U.S.C.       § 101(6))
                                                    o       None of the above

13. Are you filing under              If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the                 deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
      Bankruptcy Code and are         operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11
      you a small business            U.S.C. 1116(1)(B).
      debtor?
                                      •   No.       I am not filing under Chapter 11.
      For a definition of small
      business debtor, see 11
      U.S.C. § 101(510).              ONo.          I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
                                                    Code.

                                      Dyes.         I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


           Report if You Own or Have Any Hazardous              Property or Any Property That Needs Immediate Attention

14.   Do you own or have any          •   No.
      property that poses or Is
      alleged to pose a threat of     0 Yes.
      imminent and identifiable                  What is the hazard?
      hazard to public health or
      safety? Or do you own
      any property that needs                     If immediate attention is
      immediate attention?                        needed, why is it needed?

      For example, do you own
      perishable goods, or
      livestock that must be fed,                Where is the property?
      or a building that needs
      urgent repairs?
                                                                                  Number, Street, City, State & Zip Code




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Debtor 1     Fuentes, Mary Hanizel Agaza                                                                         Case number (if known)

           Explain Your Efforts to Receive a Briefing About Credit Counseling

                                      About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether          You must check one:                                                You must check one:
      you have received a             •   I received a briefing from an approved credit                  o   I received a briefing from an approved credit
      briefing about credit               counseling agency within the 180 days before I                     counseling agency within the 180 days before I filed
      counseling.                         filed this bankruptcy petition, and I received a                   this bankruptcy petition, and I received a certificate of
                                          certificate of completion.                                         completion.
      The law requires that you
      receive a briefing about            Attach a copy of the certificate and the payment plan,                 Attach a copy of the certificate and the payment plan, if any,
      credit counseling before you        if any, that you developed with the agency.                            that you developed with the agency.
      file for bankruptcy. You
      must truthfully check one of    0   I received a briefing from an approved credit
                                          counseling agency within the 180 days before I
                                                                                                         o       I received a briefing from an approved credit
                                                                                                                 counseling agency within the 180 days before I filed
      the following choices. If you
      cannot do so, you are not           filed this bankruptcy petition, but I do not have a                    this bankruptcy petition, but I do not have a certificate
      eligible to file.                   certificate of completion.                                             of completion.

      If you file anyway, the court       Within 14 days after you file this bankruptcy petition,                Within 14 days after you file this bankruptcy petition, you
      can dismiss your case, you          you MUST file a copy of the certificate and payment                    MUST file a copy of the certificate and payment plan, if any.
      will lose whatever filing fee       plan, if any.
      you paid, and your creditors
      can begin collection            o   I certify that I asked for credit counseling                   o       I certify that I asked for credit counseling services
      activities again.                   services from an approved agency, but was                              from an approved agency, but was unable to obtain
                                          unable to obtain those services during the 7                           those services during the 7 days after I made my
                                          days after I made my request, and exigent                              request, and exigent circumstances merit a 30-day
                                          circumstances      merit a 30-day temporary waiver                     temporary waiver of the requirement.
                                          of the requirement.
                                                                                                                 To ask for a 3D-day temporary waiver of the requirement,
                                          To ask for a 3D-day temporary waiver of the                            attach a separate sheet explaining what efforts you made to
                                          requirement, attach a separate sheet explaining what                   obtain the briefing, why you were unable to obtain it before
                                          efforts you made to obtain the briefing, why you were                  you filed for bankruptcy, and what exigent circumstances
                                          unable to obtain it before you filed for bankruptcy, and               required you to file this case.
                                          what exigent circumstances required you to file this
                                          case.                                                                  Your case may be dismissed if the court is dissatisfied with
                                                                                                                 your reasons for not receiving a briefing before you filed for
                                          Your case may be dismissed if the court is                             bankruptcy.
                                          dissatisfied with your reasons for not receiving a
                                          briefing before you filed for bankruptcy.                              If the court is satisfied with your reasons, you must still
                                          If the court is satisfied with your reasons, you must                  receive a briefing within 3D days after you file. You must file
                                          still receive a briefing within 3D days after you file.                a certificate from the approved agency, along with a copy of
                                          You must file a certificate from the approved agency,                  the payment plan you developed, if any. If you do not do so,
                                          along with a copy of the payment plan you developed,                   your case may be dismissed.
                                          if any. If you do not do so, your case may be
                                          dismissed.                                                             Any extension of the 3D-day deadline is granted only for
                                                                                                                 cause and is limited to a maximum of 15 days.
                                          Any extension of the 3D-day deadline is granted only
                                          for cause and is limited to a maximum of 15 days.
                                      o   I am not required to receive a briefing about                  o       I am not required to receive a briefing about credit
                                          credit counseling because of:                                          counseling because of:

                                          o      Incapacity.                                                     o    Incapacity.
                                                 I have a mental illness or a mental deficiency                       I have a mental illness or a mental deficiency that
                                                 that makes me incapable of realizing or rnakln;                      makes me incapable of realizing or making rational
                                                 rational decisions about finances.                                   decisions about finances.

                                          o      Disability.                                                     o    Disability.
                                                 My physical disability causes me to be unable                        My physical disability causes me to be unable to
                                                 to participate in a briefing in person, by phone,                    participate in a briefing in person, by phone, or through
                                                 or through the internet, even after I reasonably                     the internet, even after I reasonably tried to do so.
                                                 tried to do so.

                                          o      Active duty.                                                    o    Active duty.
                                                 I am currently on active military duty in a                          I am currently on active military duty in a military
                                                 military combat zone.                                                combat zone.
                                          If you believe you are not required to receive a briefing              If you believe you are not required to receive a briefing about
                                          about credit counseling, you must file a motion for                    credit counseling, you must file a motion for waiver of credit
                                          waiver credit counseling with the court.                               counseling with the court.




Official Form 1D1                                 Voluntary   Petition for Individuals   Filing for Bankruptcy                                                       page 5
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Debtor 1     Fuentes, Mary Hanizel Agaza                                                                              Case number (if known)

           Answer These Questions          for Reporting    Purposes

16.   What kind of debts do            16a.       Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C.§ 101(8) as "incurred by an
      you have?                                   individual primarily for a personal, family, or household purpose."
                                                  D No. Go to line 16b .

                                                  •    Yes. Go to line 17.

                                       16b.       Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                                  for a business or investment or through the operation of the business or investment.
                                                  D No. Go to line 16c.

                                                  D Yes. Go to line 17.
                                       16c.       State the type of debts you    owe that    are not consumer debts or business debts



17. Are you filing under               D No.      I am not filing under Chapter 7. Go to line 18.
      Chapter7?

      Do you estimate that after       •   Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses are
      any exempt property is                      paid that funds will be available to distribute to unsecured creditors?
      excluded and
      administrative expenses                     .No
      are paid that funds will be
      available for distribution                  DYes
      to unsecured creditors?

18. How many Creditors do              .1-49                                                 D 1,000-5,000                               D 25,001-50,000
      you estimate that you
                                       D 50-99                                               D 5001-10,000                               D 50,001-100,000
      owe?
                                       D 100-199                                             D 10,001-25,000                             D More than100,000
                                       D 200-999

19.   How much do you                  D $0 - $50,000                                        D $1,000,001 - $10 million                  D $500,000,001 - $1 billion
      estimate your assets to
                                       D $50,001 - $100,000                                  D $10,000,001 - $50 million                 D $1,000,000,001 - $10 billion
      be worth?
                                       •   $100,001 - $500,000                               D $50,000,001 - $100 million                D $10,000,000,001 - $50 billion
                                       D $500,001 - $1 million                               D $100,000,001 - $500 million               D More than $50 billion


20.   How much do you                  D $0 - $50,000                                        D $1,000,001 - $10 million                  D $500,000,001 - $1 billion
      estimate your liabilities   to   D $50,001 _ $100,000
      be?                                                                                    D $10,000,001 - $50 million                 D     $1,000,000,001 - $10 billion
                                       •   $100,001 - $500,000                               D $50,000,001 - $100 million                D     $10,000,000,001 - $50 billion
                                       D $500,001 - $1 million                               D $100,000,001 - $500 million               D     More than $50 billion


           Sign Below

Foryou                                 I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                       If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 oftille 11, United
                                       States Code. I understand Ihe relief available under each chapter, and I choose to proceed under Chapter 7.

                                       If no attorney represents me and I did not payor agree to pay someone who is not an attorney to help me fill out this document, I
                                       have obtained and read the notice required by 11 U.S.C. § 342(b).

                                       I request relief in accordance with the chapter of title 11, United States Code, specifled in this petition.




                                                                                                             Signature of Debtor 2


                                       Executed on       May 28, 2018                                        Executed on
                                                         MM / DD/YYYY                                                         MM / DD / YYYY




Official Form 101                                     Voluntary   Petition for Individuals    Filing for Bankruptcy                                                     page 6
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Debtor 1    Fuentes, Mary Hanizel Agaza                                                                      Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed under
represented by one              Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for which the
                                person is eligible, I also certify that I have delivered to the debtor(s) the notice required by 11 U,S,C. § 342(b) and, in a case in
If you are not represented by   which § 707(b)(4)(O) applies, certify that I have no knowledge after an inquiry that the information in the schedules filed with the
an attorney, you do not need    petition is incorrect.
to file this page.
                                                                                                      Date         May 28, 2018
                                                                                                                   MM IDD/YYYY

                                Stan Bowman
                                Printed name

                                Law Office Of Stanley D. Bowman
                                Firm name


                                700 N Pacific Coast Hwy Ste 202A
                                Redondo Beach, CA 90277-2167
                                Number, Street, City, State & ZIP Code

                                Contact phone                                                   Email address         sb@stanleybowman.com
                                75896
                                Bar number & State




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               Fill in this information to identify your case and this filing:

 Debtor 1                    Mary Hanizel Agaza Fuentes
                             First Name                             Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)         First Name                             Middle Name                     Last Name


 United States Bankruptcy Court for the:                     CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION

 Case number                                                                                                                                                 Check if this is an
                                                                                                                                                              amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                  12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
   Yes.        Where is the property?




 1.1                                                                        What is the property? Check all that apply

                                                                                   Single-family home                         Do not deduct secured claims or exemptions. Put
        21602 Figueroa St # 8                                                                                                  the amount of any secured claims on Schedule D:
        Street address, if available, or other description
                                                                                   Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property .
                                                                               Condominium or cooperative
                                                                                   Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
        Carson                            CA        90745-1967                     Land                                       entire property?           portion you own?
        City                              State          ZIP Code                  Investment property                              $380,000.00                 $380,000.00
                                                                                   Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                                   Other                                      (such as fee simple, tenancy by the entireties, or
                                                                            Who has an interest in the property? Check one     a life estate), if known.

                                                                               Debtor 1 only
        Los Angeles                                                                Debtor 2 only
        County                                                                     Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                                   At least one of the debtors and another
                                                                                                                                  (see instructions)
                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here...........................................................................=>                         $380,000.00
 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                              Schedule A/B: Property                                                                    page 1
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 Debtor 1         Fuentes, Mary Hanizel Agaza                                                                  Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
   Yes

  3.1    Make:      Lexus                                   Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:                                             Debtor 1 only                                             Creditors Who Have Claims Secured by Property .
         Year:      2014                                     Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                 55000          Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                  At least one of the debtors and another

                                                             Check if this is community property                              $14,000.00                 $14,000.00
                                                               (see instructions)



  3.2    Make:      Honda                                   Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:                                             Debtor 1 only                                             Creditors Who Have Claims Secured by Property .
         Year:      2008                                     Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:               130000           Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                  At least one of the debtors and another

                                                             Check if this is community property                                $4,200.00                 $4,200.00
                                                               (see instructions)



  3.3    Make:      Toyota                                  Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:                                             Debtor 1 only                                             Creditors Who Have Claims Secured by Property .
         Year:      2016                                     Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                 25000          Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                  At least one of the debtors and another

                                                             Check if this is community property                              $11,000.00                 $11,000.00
                                                               (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   .you have attached for Part 2. Write that number here.............................................................................=>                $29,200.00

 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                            Current value of the
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduct secured
                                                                                                                                              claims or exemptions.
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    No
    Yes.     Describe.....
                                   Household goods                                                                                                             $600.00


7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
    No
    Yes.     Describe.....

Official Form 106A/B                                                 Schedule A/B: Property                                                                        page 2
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 Debtor 1          Fuentes, Mary Hanizel Agaza                                                                              Case number (if known)

                                            TV, radio, computer, cell phone, printer                                                                               $800.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
               collections, memorabilia, collectibles
    No
     Yes.       Describe.....

9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
              instruments
    No
     Yes.       Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
     Yes.       Describe.....

11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
    Yes.        Describe.....
                                            Clothing                                                                                                               $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes.       Describe.....

13. Non-farm animals
     Examples: Dogs, cats, birds, horses
    No
     Yes.       Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
    No
     Yes.       Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
     Part 3. Write that number here ..............................................................................                                            $1,900.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                         Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.

16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
     Yes................................................................................................................
17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                 institutions. If you have multiple accounts with the same institution, list each.
    No
   Yes........................                                     Institution name:


                                              17.1.       Checking Account                       Chase Bank                                                        $500.00

Official Form 106A/B                                                                     Schedule A/B: Property                                                        page 3
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 Debtor 1        Fuentes, Mary Hanizel Agaza                                                                   Case number (if known)


18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
     Yes..................                    Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
    No
     Yes.     Give specific information about them...................
                                     Name of entity:                                                            % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    No
     Yes. Give specific information about them
                                           Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
    Yes. List each account separately.
                                        Type of account:                     Institution name:
                                        401(k) or Similar Plan               401K Impower                                                          $30,000.00


22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    No
     Yes. .....................                                             Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
     Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    No
     Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    No
     Yes.     Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
     Yes.     Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
     Yes.     Give specific information about them...

 Money or property owed to you?                                                                                                         Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.




Official Form 106A/B                                                  Schedule A/B: Property                                                              page 4
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 Debtor 1        Fuentes, Mary Hanizel Agaza                                                                                Case number (if known)

28. Tax refunds owed to you
    No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
                                                                                                               compensation, Social Security benefits;
              unpaid loans you made to someone else
    No
     Yes.     Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’
                                                                                                     s, or renter’
                                                                                                                 s insurance
    No
     Yes. Name the insurance company of each policy and list its value.
                                           Company name:                                                         Beneficiary:                              Surrender or refund
                                                                                                                                                           value:

32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
     died.
    No
     Yes.     Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
     Yes.     Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    No
     Yes.     Describe each claim.........

35. Any financial assets you did not already list
    No
     Yes.     Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
     Part 4. Write that number here.....................................................................................................................         $30,500.00

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   No. Go to Part 6.
    Yes.    Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      No. Go to Part 7.
       Yes.    Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


Official Form 106A/B                                                        Schedule A/B: Property                                                                          page 5
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53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
    No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                   $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................          $380,000.00
 56. Part 2: Total vehicles, line 5                                                                           $29,200.00
 57. Part 3: Total personal and household items, line 15                                                       $1,900.00
 58. Part 4: Total financial assets, line 36                                                                  $30,500.00
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $61,600.00              Copy personal property total       $61,600.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $441,600.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                      page 6
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              Fill in this information to identify your case:

 Debtor 1                 Mary Hanizel Agaza Fuentes
                          First Name                        Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                     Last Name


                                                    CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES
 United States Bankruptcy Court for the:            DIVISION

 Case number
 (if known)
                                                                                                                                             Check if this is an
                                                                                                                                              amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      You are claiming state and federal nonbankruptcy exemptions.                 11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions.         11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on           Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                   portion you own
                                                              Copy the value from        Check only one box for each exemption.
                                                              Schedule A/B

                                                                                                                                  CCCP § 704.950
      21602 Figueroa St # 8
                                                                   $380,000.00                                 $100,000.00
      Carson CA, 90745-1967                                                                  100% of fair market value, up to
      County : Los Angeles                                                                    any applicable statutory limit
      Line from Schedule A/B: 1.1

      Lexus                                                         $14,000.00                                                   CCCP § 704.010
      2014
      55000                                                                                  100% of fair market value, up to
      Line from Schedule A/B: 3.1                                                             any applicable statutory limit


      Honda                                                           $4,200.00                                                  CCCP § 704.010
      2008
      130000                                                                                 100% of fair market value, up to
      Line from Schedule A/B: 3.2                                                             any applicable statutory limit


      Toyota                                                        $11,000.00                                                   CCCP § 704.010
      2016
      25000                                                                                  100% of fair market value, up to
      Line from Schedule A/B: 3.3                                                             any applicable statutory limit


      Household goods                                                     $600.00                                                CCCP § 704.020
      Line from Schedule A/B: 6.1
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit



Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                            page 1 of 2
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     Brief description of the property and line on          Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B

     TV, radio, computer, cell phone,                                 $800.00                                              CCCP § 704.020
     printer
     Line from Schedule A/B: 7.1                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Clothing                                                         $500.00                                              CCCP § 704.020
     Line from Schedule A/B: 11.1
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                     page 2 of 2
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              Fill in this information to identify your case:

 Debtor 1                   Mary Hanizel Agaza Fuentes
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


                                                     CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES
 United States Bankruptcy Court for the:             DIVISION

 Case number
 (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor ’ s name.                Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Amerinet                                 Describe the property that secures the claim:               $121,000.00              $380,000.00                      $0.00
         Creditor's Name
                                                  21602 Figueroa St # 8, Carson, CA
                                                  90745-1967
                                                  As of the date you file, the claim is: Check all that
         8121 Florence Ave                        apply.
         Downey, CA 90240-3913                     Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number


 2.2     Lexus                                    Describe the property that secures the claim:                 $24,352.66               $24,000.00           $14,000.00
         Creditor's Name
                                                  2014 Lexus

         PO Box 5855                              As of the date you file, the claim is: Check all that
         Carol Stream, IL                         apply.
         60197-5855                                Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number



Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 2
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 Debtor 1 Mary Hanizel Agaza Fuentes                                                                       Case number (if know)
              First Name                  Middle Name                     Last Name


 2.3    Mr. Cooper                                 Describe the property that secures the claim:                $125,365.18         $380,000.00                  $0.00
        Creditor's Name
                                                   21602 Figueroa St # 8, Carson, CA
                                                   90745-1967
        8950 Cypress Waters                        As of the date you file, the claim is: Check all that
        Blvd                                       apply.
        Coppell, TX 75019-4620                      Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number        1014


 Add the dollar value of your entries in Column A on this page. Write that number here:                               $270,717.84
 If this is the last page of your form, add the dollar value totals from all pages.
 Write that number here:                                                                                              $270,717.84

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                     Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                           page 2 of 2
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      Fill in this information to identify your case:

 Debtor 1                  Mary Hanizel Agaza Fuentes
                           First Name                       Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                          Last Name


                                                      CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES
 United States Bankruptcy Court for the:              DIVISION

 Case number
 (if known)
                                                                                                                                                        Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

       No. Go to Part 2.
        Yes.
 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                            Total claim

 4.1          American Express                                       Last 4 digits of account number                                                                    $7,417.00
              Nonpriority Creditor's Name
                                                                     When was the debt incurred?             2017
              PO Box 981537
              El Paso, TX 79998-1537
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                          Contingent
               Debtor 2 only                                         Unliquidated
               Debtor 1 and Debtor 2 only                            Disputed
               At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                Student loans
              debt                                                    Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                        report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                  Other. Specify      Credit card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 1 of 9
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 Debtor 1 Fuentes, Mary Hanizel Agaza                                                                Case number (if know)

 4.2      Barclays Bank Delaware                                Last 4 digits of account number                                                      $5,185.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2017
          PO Box 8803
          Wilmington, DE 19899-8803
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Credit card


 4.3      Barclays Bank Delaware                                Last 4 digits of account number                                                      $2,655.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2017
          PO Box 8803
          Wilmington, DE 19899-8803
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Credit Card


 4.4      Best Buy CBNA                                         Last 4 digits of account number                                                      $4,401.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2017
          PO Box 6497
          Sioux Falls, SD 57117-6497
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Credit card




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 4.5      Chase Card                                            Last 4 digits of account number                                                      $2,806.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2017
          PO Box 15298
          Wilmington, DE 19850-5298
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Credit card


 4.6      CitiCards CBNA                                        Last 4 digits of account number                                                      $8,037.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2017
          PO Box 6190
          Sioux Falls, SD 57117-6190
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Credit card


 4.7      CITICARDS CBNA                                        Last 4 digits of account number                                                      $2,217.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2017
          PO Box 6190
          Sioux Falls, SD 57117-6190
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Credit card




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 4.8      Comenity Bank/NWYRK&CO                                Last 4 digits of account number                                                          $890.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2017
          PO Box 182789
          Columbus, OH 43218-2789
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Credit card


 4.9      Discover Financial Services                           Last 4 digits of account number                                                      $6,591.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2018
          PO Box 15316
          Wilmington, DE 19850-5316
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Credit card


 4.10     Kohls Department Store                                Last 4 digits of account number                                                          $766.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2017
          PO Box 3115
          Milwaukee, WI 53201-3115
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Credit card




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 4.11     Macy's Department Stores                              Last 4 digits of account number                                                      $2,270.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2017
          PO Box 8218
          Mason, OH 45040-8218
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Credit card


 4.12     Nordstrom TD Bank USA                                 Last 4 digits of account number       0433                                          $11,222.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2017
          13531 E Caley Ave
          Englewood, CO 80111-6504
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Credit card


 4.13     Sallie Mae                                            Last 4 digits of account number                                                     $16,282.15
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 3319
          Wilmington, DE 19804-4319
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
                                                                Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community              Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify
                                                                                     Student Loan




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 4.14     Sallie Mae                                            Last 4 digits of account number                                                     $17,259.88
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 3319
          Wilmington, DE 19804-4319
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
                                                                Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community              Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify
                                                                                     Student Loan
 4.15     Sears/CBNA                                            Last 4 digits of account number                                                      $2,076.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2017
          PO Box 6282
          Sioux Falls, SD 57117-6282
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Credit card


 4.16     SYNCB/Ashley Homestores                               Last 4 digits of account number                                                      $4,039.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2017
          PO Box 965036
          Orlando, FL 32896-5036
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Credit card




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 4.17     SYNCB/Banana Republic                                 Last 4 digits of account number                                                      $1,183.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2017
          PO Box 965005
          Orlando, FL 32896-5005
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Credit card


 4.18     SYNCB/Care Credit                                     Last 4 digits of account number                                                      $1,992.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 965036
          Orlando, FL 32896-5036
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Credit card


 4.19     SYNCB/Home Design Furn                                Last 4 digits of account number                                                      $4,718.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2017
          PO Box 965036
          Orlando, FL 32896-5036
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Credit card




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 4.20     SYNCB/Sams                                            Last 4 digits of account number                                                      $3,147.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 965005
          Orlando, FL 32896-5005
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Credit card


 4.21     SYNCB/Sams Club Dual CA                               Last 4 digits of account number                                                      $4,183.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2017
          PO Box 965005
          Orlando, FL 32896-5005
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Credit card


 4.22     SYNCB/Sunglass Hut                                    Last 4 digits of account number                                                          $946.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2017
          PO Box 965036
          Orlando, FL 32896-5036
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Credit card




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 4.23      Wells Fargo Card Service                                Last 4 digits of account number                                                         $1,596.00
           Nonpriority Creditor's Name
                                                                   When was the debt incurred?           2017
           PO Box 14517
           Des Moines, IA 50306-3517
           Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                           Contingent
            Debtor 2 only                                          Unliquidated
            Debtor 1 and Debtor 2 only                             Disputed
            At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                 Student loans
           debt                                                     Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                         report as priority claims
           No                                                      Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                   Other. Specify      Credit card

 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                 Total Claim
                        6a.   Domestic support obligations                                               6a.       $                           0.00
 Total claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                       6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated             6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.    6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                   6e.       $                           0.00

                                                                                                                                 Total Claim
                        6f.   Student loans                                                              6f.       $                      33,542.03
 Total claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                      6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts          6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount       6i.
                              here.                                                                                $                      78,337.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                6j.       $                    111,879.03




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              Fill in this information to identify your case:

 Debtor 1                 Mary Hanizel Agaza Fuentes
                          First Name                         Middle Name           Last Name

 Debtor 2
 (Spouse if, filing)      First Name                         Middle Name          Last Name


                                                      CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES
 United States Bankruptcy Court for the:              DIVISION

 Case number
 (if known)
                                                                                                                                        Check if this is an
                                                                                                                                         amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
       unexpired leases.


           Person or company with whom you have the contract or lease                State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code

     2.1      Lexus                                                                     Car lease
              PO Box 5855
              Carol Stream, IL 60197-5855

     2.2      T-Mobile                                                                  Cell phone contract
              T-Mobile Bankruptcy Team
              PO Box 53410
              Bellevue, WA 98015-3410




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                  Page 1 of 1
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              Fill in this information to identify your case:

 Debtor 1                   Mary Hanizel Agaza Fuentes
                            First Name                           Middle Name       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name       Last Name


                                                         CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES
 United States Bankruptcy Court for the:                 DIVISION

 Case number
 (if known)
                                                                                                                                 Check if this is an
                                                                                                                                  amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

      No
       Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
      line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
      106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out
      Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:

    3.1                                                                                                 Schedule D, line
                 Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                 Number            Street
                 City                                    State                      ZIP Code




    3.2                                                                                                 Schedule D, line
                 Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                 Number            Street
                 City                                    State                      ZIP Code




Official Form 106H                                                             Schedule H: Your Codebtors                                      Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      Mary Hanizel Agaza Fuentes

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:       CENTRAL DISTRICT OF CALIFORNIA, LOS
                                              ANGELES DIVISION

Case number                                                                                                Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter 13
                                                                                                              income as of the following date:
Official Form 106I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                  Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                Employed                                    Employed
       attach a separate page with           Employment status
                                                                      Not employed                               Not employed
       information about additional
       employers.
                                             Occupation              Controller
       Include part-time, seasonal, or
       self-employed work.                   Employer's name         Patina Restaurant Groups

       Occupation may include student or Employer's address
                                                                     1150 S Olive St
       homemaker, if it applies.
                                                                     Los Angeles, CA 90015-2211

                                             How long employed there?           3 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

                                                                                                         For Debtor 1        For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.             2.    $        6,674.32       $               N/A

3.     Estimate and list monthly overtime pay.                                                 3.   +$              0.00     +$              N/A

4.     Calculate gross Income. Add line 2 + line 3.                                            4.    $      6,674.32             $         N/A




Official Form 106I                                                        Schedule I: Your Income                                                     page 1
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Debtor 1    Fuentes, Mary Hanizel Agaza                                                             Case number (if known)



                                                                                                        For Debtor 1          For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                      4.          $      6,674.32       $              N/A

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                   5a.        $      1,257.46       $               N/A
      5b.    Mandatory contributions for retirement plans                                    5b.        $        471.72       $               N/A
      5c.    Voluntary contributions for retirement plans                                    5c.        $          0.00       $               N/A
      5d.    Required repayments of retirement fund loans                                    5d.        $        399.19       $               N/A
      5e.    Insurance                                                                       5e.        $        761.36       $               N/A
      5f.    Domestic support obligations                                                    5f.        $          0.00       $               N/A
      5g.    Union dues                                                                      5g.        $          0.00       $               N/A
      5h.    Other deductions. Specify:                                                      5h.+       $          0.00 +     $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.      $          2,889.73       $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.      $          3,784.59       $               N/A
8.    List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                             8a.        $              0.00   $               N/A
      8b. Interest and dividends                                                             8b.        $              0.00   $               N/A
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                            8c.        $              0.00   $               N/A
      8d. Unemployment compensation                                                          8d.        $              0.00   $               N/A
      8e.    Social Security                                                                 8e.        $              0.00   $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                        8f.  $                    0.00   $               N/A
      8g. Pension or retirement income                                                       8g. $                     0.00   $               N/A
      8h. Other monthly income. Specify:                                                     8h.+ $                    0.00 + $               N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.      $                  0.00   $                N/A

10. Calculate monthly income. Add line 7 + line 9.                                         10. $            3,784.59 + $           N/A = $           3,784.59
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                       11.    +$             0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.       $          3,784.59
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
     No.
         Yes. Explain:




Official Form 106I                                                      Schedule I: Your Income                                                        page 2
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Fill in this information to identify your case:

Debtor 1              Mary Hanizel Agaza Fuentes                                                             Check if this is:
                                                                                                              An amended filing
Debtor 2                                                                                                      A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                              expenses as of the following date:

United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA, LOS                                        MM / DD / YYYY
                                          ANGELES DIVISION

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
      No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
             Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and
      Debtor 2.
                                          Yes.    Fill out this information for
                                                   each dependent..............
                                                                                   Dependent’  s relationship to
                                                                                   Debtor 1 or Debtor 2
                                                                                                                        Dependent’
                                                                                                                        age
                                                                                                                                 s      Does dependent
                                                                                                                                        live with you?

      Do not state the                                                                                                                   No
      dependents names.                                                            Daughter                             26              Yes
                                                                                                                                         No
                                                                                   Daughter                             25              Yes
                                                                                                                                        No
                                                                                   Daughter                             24               Yes
                                                                                                                                         No
                                                                                   Son                                  18              Yes
3.    Do your expenses include
      expenses of people other than
                                                 No
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                            4. $                           976.00

      If not included in line 4:

      4a.   Real estate taxes                                                                               4a.    $                         328.00
      4b. Property, homeowner’    s, or renter’
                                              s insurance                                                   4b.    $                           0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                   4c.    $                         100.00
      4d. Homeowner’     s association or condominium dues                                                  4d.    $                         235.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5.    $                           0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
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Debtor 1     Fuentes, Mary Hanizel Agaza                                                               Case number (if known)

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                    6a. $                                              150.00
      6b. Water, sewer, garbage collection                                                     6b. $                                                 0.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                              170.00
      6d. Other. Specify:                                                                      6d. $                                                 0.00
7.    Food and housekeeping supplies                                                             7. $                                              500.00
8.    Childcare and children’     s education costs                                              8. $                                                0.00
9.    Clothing, laundry, and dry cleaning                                                        9. $                                              130.00
10.   Personal care products and services                                                      10. $                                                50.00
11.   Medical and dental expenses                                                              11. $                                                50.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                             12. $                                                 50.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                                  0.00
14.   Charitable contributions and religious donations                                         14. $                                                  0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                     15a. $                                                80.00
      15b. Health insurance                                                                   15b. $                                                 0.00
      15c. Vehicle insurance                                                                  15c. $                                               450.00
      15d. Other insurance. Specify:                                                          15d. $                                                 0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                 16. $                                                  0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                         17a. $                                               400.00
      17b. Car payments for Vehicle 2                                                         17b. $                                               180.00
      17c. Other. Specify:                                                                    17c. $                                                 0.00
      17d. Other. Specify:                                                                    17d. $                                                 0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).          18. $                                                  0.00
19.   Other payments you make to support others who do not live with you.                           $                                                 0.00
      Specify:                                                                                 19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                        20a. $                                                  0.00
      20b. Real estate taxes                                                                  20b. $                                                  0.00
      20c. Property, homeowner’      s, or renter’
                                                 s insurance                                  20c. $                                                  0.00
      20d. Maintenance, repair, and upkeep expenses                                           20d. $                                                  0.00
      20e. Homeowner’       s association or condominium dues                                 20e. $                                                  0.00
21.   Other: Specify:                                                                          21. +$                                                 0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                      $                       3,849.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                 $                       3,849.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                       23a. $                               3,784.59
    23b. Copy your monthly expenses from line 22c above.                                                    23b. -$                              3,849.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                  -64.41

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
      No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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 Fill in this information    to identify your case:

 Debtor 1                Mary Hanizel Agaza Fuentes
                         First Name                   Middle Name          Last Name
 Debtor2
 (Spouse if, filing)     First Name                   Middle Name          Last Name

                                                CENTRAL DISTRICTOF CALIFORNIA,LOS ANGELES
 United States BankruptcyCourt for the:         DIVISION

 Case number
 (if known)
                                                                                                                        o   Check if this is an
                                                                                                                            amendedfiling


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                12115

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C.§§ 152, 1341, 1519, and 3571.



                   Sign Below


       Did you payor agree to pay someone who is NOTan attorney to help you fill out bankruptcy forms?

        •      No

       o       Yes. Nameof person      _______________________                                       Attach Bankruptcy Petition Preperer's Notice,
                                                                                                     Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that th are true and correct.

                                                                          X
                                                                              ~S~i~g-na~t-ur-e-o~f~D~e7b7to-r~2~-----------------


              Date May 28, 2018                                               Date
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      Fill in this information      to identify your case:

      Debtor 1                  Mary Hanizel Agaza Fuentes
                                First Name                   Middle Name                  Last Name
     Debtor 2
     (Spouse if, filing)        First Name                   Middle Name                  Last Name

                                                       CENTRAL DISTRICTOF CALIFORNIA,LOS ANGELES
     United States BankruptcyCourt for the:            DIVISION

     Case number
     (if known)
                                                                                                                                         o   Check if this is an
                                                                                                                                             amendedfiling


  Official Form 107
  Statement of Financial Affairs for Individuals                                            Filing for Bankruptcy                             4/16
  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
  (if known). Answer every question.

                    Give Details About Your Marital Status and Where You Lived Before

 1.       What Is your current marital status?

             o     Married
             •     Not married

 2.       During the last 3 years, have you lived anywhere other than where you live now?


          •       No
          o       Yes. List all of the placesyou livedin the last 3 years.Do not includewhereyou livenow.

             Debtor 1 Prior Address:                            Dates Debtor 1lived         Debtor 2 Prior Address:                             Dates Debtor 2
                                                                there
                                                                                                                                                lived there
 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
 states and territories includeArizona, California, Idaho, Louisiana,Nevada,New Mexico,Puerto Rico, Texas, Washingtonand Wisconsin.)


         •        No
         o        Yes. Makesureyoufill out Schedule H: Your Codebtors (Official Form 106H).

                   Explain the Sources of Your Income

4.       Did you have any income from employment or from operating a buslness during this year or the two previous calendar years?
         Fill in the lotal amountof income you received from all jobs and all businesses,including part-timeactivities.
         If youarefiling a jolnt case and you haveincomethat you receivetogether,lisl it onlyonce underDebtor 1.

         •        No
         o        Yes. Fill in the details.

                                                   Debtor 1                                                       Debtor 2
                                                   Sources of income               Gross income                  Sources of income
                                                   Check all that apply.                                                                       Gross income
                                                                                   (beforedeductionsand          Check all that apply.         (beforedeductions
                                                                                   exclusions)
                                                                                                                                               and exclusions)
                                                                                        .z5~
                                                                                       Gq,t)D~
                                                                                      fPIJ, eoa

Official Form 107
                                                      Statementof Financial Affairs for Individuals Filing for Bankruptcy
                                                                                                                                                                   page 1
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      Debtor 1       Fuentes, Mary Hanizel Agaza                                                               Case numberUfknown)



  5.        Did you receive any other Income during this year or the two previous calendar years?                                     "
            Include income regardless of whether that income is taxable. Examples of other income are alimony; c~lld SUPP?rt;Social Sec~nty, unemploy,:"ent. and
            other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits: royalties; and gambling and lottery Winnings. If
            you are filing a joint case and you have income that you received together. list it only once under Debtor 1.

            List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            •    No
            o    Yes. Fill in the details.

                                                      Debtor 1                                                         Debtor 2
                                                      Sources of income                 Gross income from              Sources of income          Gross income
                                                      Describe below.                   each source                    Describe below.            (before deductions
                                                                                        (before deductions and                                    and exclusions)
                                                                                        exclusions)

                  List Certain Pa ments You Made Before You Filed for Bankru tc

 6.         Are either Debtor 1's or Debtor 2's debts primarily consumer debts?
            o    No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an
                       individual primarily for a personal, family, or household purpose."

                        During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                         DNa.        Go to line 7.
                         DYes        List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you paid that
                                     creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                                     payments to an attorney for this bankruptcy case.
                        * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.
            •   Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        •    No.      Go to line 7.
                        DYes         List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                                     payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                                     this bankruptcy case.


            Creditor's Name and Address                          Dates of payment               Total amount          Amount you     Was this payment for ...
                                                                                                        paid             still owe
 7.     Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
        Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of
        which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a
        business you operate as a sale proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

        •       No
        o       Yes. List all payments to an insider.
            Insider's Name and Address                           Dates of payment              Total amount          Amount you      Reason for this payment
                                                                                                       paid             still owe

8.      Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
        insider?
        Include payments on debts guaranteed or cosigned by an insider.

        •       No
        o       Yes. List all payments to an insider
         Insider's Name and Address                              Dates of payment              Total amount          Amount you      Reason for this payment
                                                                                                       paid             still owe    Include creditor's name



9.      Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
        List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,



Official Form 107
                                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy
                                                                                                                                                                 page 2
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  Debtor 1       Fuentes,    Mary    Hanizel   Agaza                                                        Case number(ifknown)



       and contractdisputes.


       •      No
       o      Yes. Fill in the details.
          Case title                                             Nature of the case          Court or agency                         Status of the case
          Case number

 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

       •      No. Go to line 11.
       o      Yes. Fill in the informationbelow.
          Creditor Nameand Address                               Describe the Property                                       Date                         Value ofthe
                                                                                                                                                             property
                                                                 Explain what happened

 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?

       •      No
       o      Yes. Fill in the details.
          Creditor Nameand Address                               Describe the action the creditor took                       Date action was                 Amount
                                                                                                                             taken

 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
     court-appointed receiver, a custodian, or another official?

      •       No
      o       Yes

liljTi,.       List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

      •       No
      o       Yes. Fill in the detailsfor eachgift.
          Gifts with a total value of more than $600 per             Describe the gifts                                      Dates you gave                    Value
          person                                                                                                             the gifts
          Person to Whom You Gave the Gift and
          Address:

14.   Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
      •      No
      o      Yes. Fill in the detailsfor each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                           Dates you                         Value
       more than $600                                                                                                        contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

liljTil.       List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?


      •      No
      o      Yes. Fill in the details.
       Describe the property you lost and                 Describe any insurance coverage for the loss                       Date of your         Value of property
       how the loss occurred                                                                                                 loss
                                                          Include the amountthat insurancehas paid. List pending                                               lost
                                                          insuranceclaims on line 33 ofSchedule AlB: Property.
liljTii.       List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf payor transfer any property to anyone you


Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
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 Debtor     1 Fuentes, Mary Hanizel Agaza                                                                           Case numberUfknown)



      consulted about seeking bankruptcy or preparing a bankruptcy petition?
      Includeanyattorneys,bankruptcypetitionpreparers,or credit counselingagenciesfor servicesrequiredin your bankruptcy.


      •      No
      o      Yes. Fill in the details.
          Person Who Was Paid                                         Description and value of any property                              Date payment or            Amount of
          Address                                                     transferred                                                        transfer was                payment
          Email or website address                                                                                                       made
          Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf payor transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not includeanypaymentor transferthat you listedon line 16.


      •      No
      o      Yes. Fill in the details.
          Person Who Was Paid                                         Description and value of any property                              Date payment or            Amount of
          Address                                                     transferred                                                        transfer was                payment
                                                                                                                                         made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred In the ordinary course of your business or financial affairs?
    Includebothoutrighttransfersand transfers madeas security(such as the grantingof a securityinterestor mortgageon your property).Do not include
    gifts andtransfersthat you havealreadylistedon this statement.

      •      No
      o      Yes. Fill in the details.
          Person Who Received Transfer                                Description and value of                           Describe any property or           Date transfer was
          Address                                                     property transferred                               payments received or debts         made
                                                                                                                         paid in exchange
          Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (Theseare oftencalled asset-protection devices.)

      •      No
      o      Yes. Fill in the details.
          Nameof trust                                                Description and value of the property transferred                                    Date Transfer was
                                                                                                                                                           made
.@,:W          List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.

      •      No
      o      Yes. Fill in the details.
      Nameof Financial Institution and                           Last 4 digits of                Type of account or                  Date account was      Last balance before
      Address (Number. Street, City, State and ZIP               account number                  instrument                          closed, sold,          closing or transfer
       Code)
                                                                                                                                     moved, or
                                                                                                                                     transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?


      •      No
      o      Yes. Fill in the details.
      Nameof Financial Institution                                   Who else had access to it?                     Describe the contents                     Do you still
      Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State                                                     have it?
                                                                     and ZIP Code)




Official Form 107                                    Statement    of Financial   Affairs   for Individuals   Filing for Bankruptcy                                           page 4
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     Debtor 1       Fuentes, Mary Hanizel Agaza                                                                    Case numberorknown)



 22. Haveyou stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?


            •    No
            o    Yes. Fill in the details.
            Nameof Storage Facility                                      Who else has or had access                Describe the contents          Do you still
            Address (Number, Street, City,   State and ZIP Code)         to it?                                                                   have it?
                                                                         Address (Number, Street, City, State
                                                                         and ZIP Code)

 '@'-             Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for
     someone.


        •        No
        o        Yes. Fill in the details.
            Owner's Name                                                 Where is the property?                    Describe the property                     Value
            Address (Number, Street, City,   State and ZIP Code)         (Number, Street, City, State and ZIP
                                                                         Code)

'@'''.            Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:

 •      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
        toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations
        controlling the cleanup of these substances, wastes, or material.
 •      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to
        own, operate, or utilize It, including disposal sites.
 •      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous
        material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


        •       No
        o       Yes. Fill in the details.
            Nameof site                                                 Governmental unit                             Environmental law, if you   Date of notice
            Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City, State and      know it
                                                                        ZIP Code)

25. Haveyou notified any governmental unit of any release of hazardous material?


        •       No
        o       Yes. Fill in the details.
        Nameof site                                                     Governmental unit                             Environmental law, if you   Date of notice
        Address (Number, Street, City, State and ZIP Code)              Address (Number, Street, City, State and      know it
                                                                        ZIP Code)

26. Haveyou been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


        •       No
        o       Yes. Fill in the details.
        Case Title                                                      Court or agency                            Nature ofthe case              Status of the
        Case Number                                                     Name                                                                      case
                                                                        Address (Number, Street, City, State
                                                                        and ZIP Code)

                 Give Details About Your Business or Connections to An Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the follOwing connections to any business?
                o A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                o A member of a limited liability company (LLC) or limited liability partnership (LLP)
Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy
                                                                                                                                                             page 5
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           D A partner in a partnership
           D An officer, director, or managing executive of a corporation
           D An owner of at least 5% of the voting or equity securities of a corporation

      •    No. None of the above applies. Go to Part 12.
      D    Yes. Check all that apply above and fill in the details below for each business.
      Business Name                                              Describe the nature of the business            Employer Identification number
      Address                                                                                                   Do not include Social Security number or ITIN.
      (Number. Street, City, State and ZIP Code)                 Name of accountant or bookkeeper
                                                                                                                Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

      •    No
      D    Yes. Fill in the details below.
      Name                                                       Date Issued
      Address
      (Number, Street, City, State and ZIP Code)

':milfa      Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are
true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankr ptcy case can result in fines up to $250,000,or imprisonment for up to 20 years, or both.
18 U.. C. §§ 152,1341,1519, and 3571.


                                                                         Signature of Debtor 2


 Date     May 28, 2018                                                   Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
.No
DYes

Did you payor agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
.No
D Yes. Nameof Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 6
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 Attorney or Party Name, Address, Telephone & FAX                                         FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 Stan Bowman

 700 N Pacific Coast Hwy Ste 202A
 Redondo Beach, CA 90277-2167

 75896

 sb@stanleybowman.com




                                 UNITED STATES BANKRUPTCY COURT
                        CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION

 In re:                                                                                  Case No.:
                                                                                         CHAPTER: 7
      Fuentes, Mary Hanizel Agaza

                                                                        Debtor(s).                       DEBTOR.S ATTORNEY'S
                                                                                                     DISCLOSURE OF COMPENSATION
                                                                                                      ARRANGEMENT IN INDIVIDUAL
                                                                                                            CHAPTER 7 CASE
                                                                                                             [LBR 2090-1(a)(3)]

1.    Compensation Arrangement.               Pursuant to 11 U.S.C. § 329(a), FRBP 2016(b), and LBR 2090-1(a)(3) and (4),
      I disclose that:

      a. I am the attorney for the Debtor.

      b. Compensationthat was paid to me, within one year before the petition was filed, or was agreed to be paid to me, for services
         rendered or to be rendered on behalf of the Debtor in contemplation of or in connection with this bankruptcy case, is as
         follows:

           i. For legal services, I have agreed to accept 0 an hourly rate of $__                                or a • flat fee of $             2,000.00
           ii. Prior to filing this disclosure I have received $ 2,000.00
           iii. The balance due is $0.00

2.   Source of Compensation Paid Postpetition (Postpetition Compensation).
      a. Already Paid. The source(s) of the Postpetition Compensation paid to me was:
           •   Debtor      0 Other (specify):
      b. To be Paid. The source(s) of the Postpetition Compensationto be paid to me is:
           o   Debtor      0 Other (specify):
3.    Sharing of Compensation Paid Postpetition.

      •   I have not agreed to share Postpetition Compensationwith any other person unless they are members or regular associates
          of my law firm within the meaning of FRBP 9001(10).

      o   I have agreed to share Postpetition Compensation with other person or persons who are not members or regular associates
          of my law firm within the meaning of FRBP 9001(10). Attached as Exhibit A is a copy of the agreement and a list of the
          names of the people sharing in the Postpetition Compensation.

4.   Limited Scope of Services. A limited scope of appearance is permitted under LBR 2090-1(a)(3), unless otherwise required by
     the presidingjudge. In return for the fee disclosed above, I have agreed to provide the required legal services indicated below in
                          This form is mandatory. It has been approvedfor use in the United States BankruptcyCourt for the Central District of California.
December2015                                                                       Page 1                                     F 2090-1.CH7.ATTY.COMP.DISCLSR
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     paragraph "a", and, if any are indicated, the additional services checked in paragraph "4.b".

     a.   Services required to be provided:
          i. Analysis of the Debtor's financial situation, and advice to the Debtor in determining whether to file a bankruptcy
               petition;
          ii. Preparation and filing of any petition, lists, schedules and statements and any other required case
     commencement documents; and
          iii. Representation of the Debtor at the initial § 341(a) meeting of creditors.
     b.       • Additional legal services I will provide:
              i. 0 Any proceeding related to relief from stay motions.
              ii. 0 Any proceeding involving an objection to the Debtor's discharge pursuant to 11 U.S.C. § 727.
              iii. 0 Any proceeding to determine whether a specific debt is nondischargeableunder 11 U.S.C. § 523.
              iv. 0 Reaffirmation of a debt.
              v. 0 Any lien avoidance under 11 U.S.C. § 522(f)
              vi. 0 Other (specify):
5.    If in the future I agree to represent the Debtor in additional matters, I will complete and file the Attorney's Disclosure of
      PostpetitionCompensation, LBR form F 2016-1.4.ATTY.COMP.DISCLSR.

                                               DECLARATION OF ATTORNEY FOR THE DEBTOR

    I declare under penalty of perjury that the foreqoinq is a complete statement of any agreement or arrangement for payment to
me for representationof the Debtor in this bankruptcy case~

           Date:    May 28, 2018                                             ~                            D 1>_
                                                                             Sig ature of att.1rney for tfie'Debtor
                                                                             Stan Bowmal{
                                                                             Printed namefof attorney
                                                                             Law Office Of Stanley D. Bowman
                                                                             Printed name of law firm


                                                             DECLARAnON OF THE DEBTOR

    I/we declare under penalty of perjury that my attorney has explained to me/us the limited scope of representation as outlined
above. I/we understand that I/we have paid or agreed to pay solely for the required services listed in paragraph 4a, and the
additional services (if any) that are checked off in paragraph 4b above, and that I/we am representing myself/ourselves for any other
proceedings unless a new agreement is reached with an attorney.

                                                                             Date:

                ii~~~
           D~      May 28, 2018


           S;gna;'::,  Debtor 1     •
           Mary Hanizel Agaza Fuentes
                                                                             Signature of Debtor 2 (JOint Debtor) (if applicable)

           Printed name of Debtor 1                                          Printed name of Debtor 2




                         This form is mandatory. It has been approvedfor use in the United States BankruptcyCourt for the Central District of Califomia.
December 2015                                                                    Page 2                                     F 2090.1.CH7.ATTY.COMP.DISCLSR
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 Fill In this Information to Identify your case                                                                 Check one box only as directed In this form and In Form
                                                                                                                122A-1Supp
 Debtor 1              Mary Hanizel Agaza Fuentes
 Debtor 2
                                                                                                                    •       1, There is no presumption of abuse
 (Spouse, if filing)

                                                  Central District of California, Los                               o 2. The calculation       to determine if a presumption of abuse
 United States Bankruptcy Court for the:         _;A...:n~gz.:e:.:;le:::s:..:D:::;i:.:.v:.:is:.:io:.:.:n_                      applies will be made underChapter 7 Means Test
                                                                                                                               Calculation (Official Form 122A-2),
 Case number                                                                                                        03. The         Means Test does not apply now because of qualified
 (if known)
                                                                                                                               military service but it could apply later.

                                                                                                                    o Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                              12115
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach
a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b}(2) (Official Form 122A-1Supp) with this form.

                  Calculate Your Current Monthly        Income

   1. What is your marital and filing status? Check one only,
        •     Not married, Fill out Column A, lines 2-11,
        o Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
        o Married and your spouse is NOT filing with you. You and your spouse are:
         o Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
         o Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B, By checking           this box, you declare under
                  penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are living
                  apart for reasons that do not include evading the Means Test requirements. 11 U,S.C § 707(b)(7)(B),
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C.§
    101(10A).For example,if you are filing on September 15, the 6-month periodwould be March 1 through August 31. If the amount of your monthly income varied during the
    6 months,add the incomefor all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses
    own the same rental             the income from that property in one column only. If you have nothing to report for      line, write $0 in the space.
                                                                                                                        ColumnA                  Column B
                                                                                                                        Debtor 1                 Debtor 2 or
                                                                                                                                                 non-filing spouse
  2, Your gross wages, salary, tips, bonuses,              overtime, and commissions                  (before all
     payroll deductions),                                                                                               $              0.00      $
  3. Alimony and maintenance            payments.      Do not include payments from a spouse if
     Column B is filled in,                                                                                             $              0.00      $
  4,    All amounts from any source which are regularly paid for household expenses
        of you or your dependents, including child support. Include regular contributions
        from an unmarried partner, members of your household, your dependents. parents, and
        roommates. Include regular contributions from a spouse only if Column B is not filled in,
        Do not include payments you listed on line 3                                              $                                    0_.0_0_ $
  5,    Net income from operating        a business,    profession,       or farm
                                                                                                                                                     -----
                                                                                             Debtor 1
        Gross receipts (before all deductions)                    $                      0.00
        Ordinary and necessary operating expenses               -$                       0.00
        Net monthly income from a business, profession, or farm $                        0.00       Copy here -> $                     0.00      $
  6,    Net income from rental and other real property
                                                                                                                            -----                    ------
                                                                                             Debtor 1
        Gross receipts (before all deductions)                                  $        0.00
        Ordinary and necessary operating expenses                              -$        0.00
        Net monthly income from rental or other real property                  $         0.00       Copy here -> $                     0.00      $
                                                                                                                            ------               $-----
  7.    Interest, dividends,    and royalties                                                                           $              0.00




Official Form 122A-1                                     Chapter 7 Statement             of Your Current Monthly              Income                                         page 1
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 Debtor 1     Fuentes, Mary Hanizel Agaza                                                                Case number (if known)



                                                                                                     ColumnA                      ColumnB
                                                                                                     Debtor 1                     Debtor 2 or
                                                                                                                                  non-filing spouse
   8. Unemployment          compensation                                                             $                 0.00       $
       Do not enter the amount if you contend that the amount received was a benefit under the
                                                                                                                                      ------
       Social Security Act. Instead, list it here:
            For you                                                $                      0.00
            For your spouse
   9. Pension or retirement income. Do not include any amount received that was a benefit
       under the Social Security Act.                                                                $                 O_.O_O_    $
   10. Income from all other sources not listed above. Specify the source and amount. Do
                                                                                                                                      -----
       not include any benefits received under the Social Security Act or payments received as
       a victim of a war crime, a crime against humanity, or international or domestic terrorism.
       If necessary, list other sources on a separate page and put the total below.
                                                                                                     $                 0.00       $
                                                                                                     $                 0.00       $
                     Total amounts from separate pages, if any.                                  +   $                 0.00       $




                                                                                            I'                       Ii'
   11. Calculate your total current monthly income. Add lines 2 through 10 for
       each column. Then add the total for Column A to the total for Column B.                             0.00                                                     0.00

                                                                                                                                               11'     Total current monthly
                                                                                                                                                       Income
                Determine Whether the Means Test Applies to You


   12. Calculate your current monthly         income for the year. Follow these steps:

       12a. Copy your total current monthly income from line 11                                      ..... . Copy     line 11 here=>
                                                                                                                                               1$----=-°·:...:..00.:....

              Multiply by 12 (the number of months in a year)
                                                                                                                                                        x 12
       12b. The result is your annual income for this part of the form                                                                   12b·I$                     0_._00_


   13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                   CA

       Fill in the number of people in your household.                        1
       Fill in the median family income for your state and size of household....
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions for this
                                                                                                                                         13.   I   $        53,644.00

       form. This list may also be available at the bankruptcy clelt office.                                                                   L--                         ---'


  14. How do the lines compare?

       14a.      •      Line 12b is less than or equal to line 13. On the top of page 1, check box "V",here
                                                                                                          is no presumption of abuse.
                        Go to Part 3.
       14b.     0       Line 12b is more than line 13. On the top of page 1, check box ZI;hepresumption of abuse is detennined by Fonn 122A-2.
                        Go to Part 3 and fill out Form 122A-2.


                 Signing here,                  penalty of
                                                                                                                                                   correct.


            x~~zL~
             Mal)fHilizel           Agaza Fuentes
                Signature of Debtor 1
        Date    May 28, 2018
                MM tOO IYYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.

              If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                   Chapter 7 Statement of Your Current Monthly         Income                                                     page 2
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                                               Certificate Number: 00301-CAC-CC-030826648


                                                              00301-CAC-CC-030826648




                    CERTIFICATE OF COUNSELING

I CERTIFY that on April 4, 2018, at 5:06 o'clock PM EDT, MARY HANIZEL A
FUENTES received from InCharge Debt Solutions, an agency approved pursuant
to 11 U.S.C. § 111 to provide credit counseling in the Central District of
California, an individual [or group] briefing that complied with the provisions of
11 U.S.C. §§ 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   April 4, 2018                          By:      /s/Samantha Alicea


                                               Name: Samantha Alicea


                                               Title:   Certified Bankruptcy Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
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                Fill in this information     to identify    your case:

 Debtor 1                       Mary Hanizel Agaza Fuentes
                                First Name                      Middle Name                Last Name

 Debtor 2
 (Spouse if, filing)            First Name                      Middle Name                Last Name

                                                            CENTRAL DISTRICTOF CALIFORNIA,LOS ANGELES
 United States BankruptcyCourt for the:                     DIVISION

 Case number
 (if known)                                                                                                                        0     Check if this is an
                                                                                                                                         amendedfiling



Official Form 108
Statement of Intention for Individuals                                                     Filing Under Chapter 7                                        12/15


If you are an individual filing under chapter 7, you must fill out this form If:
• creditors have claims secured by your property, or
• you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on
        the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct Information. Both debtors must sign
          and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
         write your name and case number (if known).

1;m;'M              List Your Creditors Who Have Secured Claims

1, For any creditors that you listed in Part 1 of Schedule 0: Creditors Who Have Claims Secured by Property (Official Form 1060),fill in the
   information below.
  . ldltotifY:~Q~:
     , .. "\:h~:+U L:i, ~)j'"
                                 "(i,i'l,l\It~!~plf~pj~rt


    Creditor's                                                                 o Surrenderthe property,                            ONo
    name:                                                                      o Retainthe propertyand redeem it.
    Descriptionof
                                                                               o Retainthe propertyand enterinto a Reaffirmation   DYes
                                                                                 Agreement.
    property                                                                   o Retainthe propertyand [explain):
    securingdebt:

    Creditor's                                                                 o Surrenderthe property,                            ONo
    name:                                                                      o Retainthe propertyand redeem it.
    Descriptionof
                                                                               o Retainthe propertyand enterintoa Reaffirmation    Dyes
                                                                                  Agreement.
    property                                                                   o Retainthe propertyand [explain]:
    securingdebt:

    Creditor's                                                                 o Surrenderthe property,                            ONo
    name:                                                                      o Retain the propertyand redeem it.
                                                                               o Retainthe propertyand enterinto a Reaffirmation   DYes
    Descriptionof                                                                 Agreement.
    property                                                                   o Retainthe propertyand [explain]:
    securingdebt:

    Creditor's                                                                 o Surrenderthe property,                            ONo


Official Form 108                                            Statement of Intention for Individuals Filing Under Chapter 7                                     page 1
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     Debtor 1      Fuentes, Mary Hanizel Agaza                                                      Case number(if known)

       name:                                                            D Retainthe propertyand redeemit.                       DYes
                                                                        D Retainthe propertyand enterinto a Reaffirmation
       Descriptionof                                                      Agreement.
       property                                                         D Retainthe propertyand [explain]:
       securingdebt:



           List Your Unex ired Personal Pro ert Leases
 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),fill in
 the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You
 may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C.§ 365(p)(2).



  Lessor'sname:                Lexus
                                                                                                                            • No

                                                                                                                            DYes

  Descriptionof leased         Car lease
  Property:

  Lessor'sname:                T-Mobile                                                                                     • No

                                                                                                                            Dyes

  Descriptionof leased         Cell phone contract
  Property:



••     -          Sign Below




 x
                                                                                  X~S~i~gn~a~t~ur~e-o~f~D~e~b~to~r~2~---------------------------------



           Date       September 10, 2018                                          Date




Official Form 108                                    Statement of Intention for Individuals Filing Under Chapter 7                                       page2
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 Attorney or Party Name, Address, Telephone & FAX Nos.,                           FOR COURT USE ONLY
 State Bar No. & Email Address
 Stan Bowman

 700 N Pacific Coast Hwy Ste 202A
 Redondo Beach, CA 90277-2167

 California State Bar Number: 75896
 sb@stanleybowman.com




 o   Debtor(s) appearing without an attorney
 •   Attorney for Debtor


                                          UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION

 In re:
                                                                                  CASE NO.:
             Fuentes, Mary Hanizel Agaza
                                                                                  CHAPTER: 7




                                                                                                      VERIFICATION OF MASTER
                                                                                                     MAILING LIST OF CREDITORS

                                                                                                                   [LBR 1007-1 (a))

                                                              Debtor(s).

Pursuant to LBR 1007-1 (a), the Debtor, or the Debtor's attorney if applicable, certifies under penalty of perjury that the
master mailing list of creditors filed in this bankruptcy case, consisting of _5_ sheet(s) is complete, correct, and


                                                                                                                                       't5-
consistent with the Debtor's schedules and Itwe assume all responsibility for errors and omissions.

Date: May 28, 20t8                                                                          ~          ~
                                                                                         SiiantureODebtor             1

Date:
          ---------------------------------

Date: May 28, 2018




                   This form is optional. It has been approvedfor use in the United States BankruptcyCourt for the Central District of California.
December2015
                                                                                                   F 1007 -1.MAILlNG.LlST. VERIFICATION
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     Mary Hanizel Agaza Fuentes
     21602 Figueroa St
     Unit 8
     Carson, CA 90745-1967


     Law Office Of Stanley D Bowman
     700 N Pacific Coast Hwy Ste 202A
     Redondo Beach, CA 90277-2167
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     American Express
     PO Box 981537
     El Paso, TX 79998-1537


     Amerinet
     8121 Florence Ave
     Downey, CA 90240-3913


     Barclays Bank Delaware
     PO Box 8803
     Wilmington, DE 19899-8803


     Best Buy CBNA
     PO Box 6497
     Sioux Falls, SD     57117-6497


     Chase Card
     PO Box 15298
     Wilmington, DE     19850-5298


     CITICARDS CBNA
     PO Box 6190
     Sioux Falls, SD     57117-6190


     Comenity Bank/NWYRK&CO
     PO Box 182789
     Columbus, OH 43218-2789
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     Discover Financial Services
     PO Box 15316
     Wilmington, DE 19850-5316


     Kohls Department Store
     PO Box 3115
     Milwaukee, WI 53201-3115


     Lexus
     PO Box 5855
     Carol Stream, IL      60197-5855


     Macy's Department Stores
     PO Box 8218
     Mason, OH 45040-8218


     Mr Cooper
     8950 Cypress Waters Blvd
     Coppell, TX 75019-4620


     Nordstrom TD Bank USA
     13531 E Caley Ave
     Englewood, CO 80111-6504


     Sallie Mae
     PO Box 3319
     Wilmington, DE     19804-4319
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     Sears/CBNA
     PO Box 6282
     Sioux Falls, SD     57117-6282


     SYNCB/Ashley Homestores
     PO Box 965036
     Orlando, FL 32896-5036


     SYNCB/Banana Republic
     PO Box 965005
     Orlando, FL 32896-5005


     SYNCB/Care Credit
     PO Box 965036
     Orlando, FL 32896-5036


     SYNCB/Home Design Furn
     PO Box 965036
     Orlando, FL 32896-5036


     SYNCB/Sams
     PO Box 965005
     Orlando, FL 32896-5005


     SYNCB/Sams Club Dual CA
     PO Box 965005
     Orlando, FL 32896-5005
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     SYNCB/Sunglass Hut
     PO Box 965036
     Orlando, FL 32896-5036


     T-Mobile
     T-Mobile Bankruptcy Team
     PO Box 53410
     Bellevue, WA 98015-3410


     Wells Fargo Card Service
     PO Box 14517
     Des Moines, IA 50306-3517
                                                                              Case 2:18-bk-20553-BR                   Doc 1 Filed 09/11/18 Entered 09/11/18 09:58:49                         Desc
                                                                                                                      Main Document    Page 53 of 61
                                                                   B201 - Notice of Available Chapters (Rev. 06/14)                                                          USBC, Central District of California

                                                                   Name: Law Office Of Stanley D. Bowman

                                                                   Address: 700 N Pacific Coast Hwy Ste 202A

                                                                   Redondo Beach, CA 90277-2167

                                                                   Telephone:                                    Fax:

                                                                      Attorney for Debtor
                                                                      Debtor in Pro Per


                                                                                                         UNITED STATES BANKRUPTCY COURT
                                                                                                          CENTRAL DISTRICT OF CALIFORNIA
                                                                    List all names including trade names, used by                Case No.:
                                                                    Debtor(s) within last 8 years:
                                                                    Fuentes, Mary Hanizel Agaza



                                                                                                                                                   NOTICE OF
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                                                                                                                                              AVAILABLE CHAPTERS
                                                                                                                                 (Notice to Individual Consumer Debtor Under § 342(b) of the Bankruptcy Code)




                                                                   In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
                                                                   briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four
                                                                   types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the
                                                                   Attorney General may examine all information you supply in connection with a bankruptcy case.

                                                                   You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
                                                                   attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal
                                                                   advice.

                                                                   Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
                                                                   you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any
                                                                   changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other),
                                                                   and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single
                                                                   copy of each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court
                                                                   requesting that each spouse receive a separate copy of all notices.

                                                                   1. Services Available from Credit Counseling Agencies

                                                                        With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
                                                                        bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit
                                                                        counseling and provides assistance in performing a budget analysis. The briefing must be given within 180 days
                                                                        before the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by
                                                                        telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the
                                                                        United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the
                                                                        approved budget and credit counseling agencies. Each debtor in a joint case must complete the briefing.

                                                                        In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
                                                                        instructional course before he or she can receive a discharge. The clerk also has a list of approved financial
                                                                        management instructional courses. Each debtor in a joint case must complete the course.
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                                                                   2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

                                                                        Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total fee $335)

                                                                        1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
                                                                           whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
                                                                           should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
                                                                           residence and family size, in some cases, creditors have the right to file a motion requesting that the court dismiss your
                                                                           case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
                                                                        2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right
                                                                           to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
                                                                           creditors.
                                                                        3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
                                                                           committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge
                                                                           and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
                                                                        4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may
                                                                           still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
                                                                           and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
                                                                           which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating
                                                                           a motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt
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                                                                           arose from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may
                                                                           determine that the debt is not discharged.

                                                                        Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee, $75
                                                                        administrative fee: Total fee $310)
                                                                        1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments
                                                                           over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth
                                                                           in the Bankruptcy Code.
                                                                        2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
                                                                           them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
                                                                           depending upon your income and other factors. The court must approve your plan before it can take effect.
                                                                        3. After completing the payments under your plan, your debts are generally discharged except for domestic support
                                                                           obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are
                                                                           not properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain
                                                                           long term secured obligations.

                                                                        Chapter 11: Reorganization ($1167 filing fee, $550 administrative fee: Total fee $1717)
                                                                        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are
                                                                        quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

                                                                        Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total fee $275)
                                                                        Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future
                                                                        earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income
                                                                        arises primarily from a family-owned farm or commercial fishing operation.

                                                                   3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

                                                                        A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury,
                                                                        either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information
                                                                        supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through
                                                                        the Office of the United States Trustee, the Office of the United States Attorney, and other components and employees
                                                                        of the Department of Justice.

                                                                   WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
                                                                   creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
                                                                   information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
                                                                   rules of the court.
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                                                                   B201 - Notice of Available Chapters (Rev. 06/14)                                                     USBC, Central District of California

                                                                                                        Certificate of [Non-Attorney] Bankruptcy Petition Preparer

                                                                   I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor this
                                                                   notice required by § 342(b) of the Bankruptcy Code.


                                                                   Printed Name and title, if any, of Bankruptcy Petition Preparer            Social Security number (if the bankruptcy petition
                                                                   Address:                                                                   preparer is not an individual, state the Social Security
                                                                                                                                              number of the officer, principal, responsible person,
                                                                                                                                              or partner of the bankruptcy petition preparer.)
                                                                                                                                              (Required by 11 U.S.C. § 110.)
                                                                   X
                                                                   Signature of Bankruptcy Petition Preparer or officer, principal,
                                                                   responsible person, or partner whose Social Security number is
                                                                   provided above.



                                                                                                                           Certificate of the Debtor

                                                                   I (We), the debtor(s), affirm that I (we) have received and read this notice.
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                                                                   Fuentes, Mary Hanizel Agaza                                                X                                                    9/11/18
                                                                   Printed Name(s) of Debtor(s)                                               Signature of Debtor                                    Date

                                                                   Case No. (If known)
                                                                                                                                              X
                                                                                                                                              Signature of Joint Debtor (if any)                     Date
                                                                   B201B (FormCase    2:18-bk-20553-BR
                                                                               201B) (12/09)                      Doc 1 Filed 09/11/18 Entered 09/11/18 09:58:49                                Desc
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                                                                                                                  United States Bankruptcy Court
                                                                                                         Central District of California, Los Angeles Division

                                                                   IN RE:                                                                                            Case No.
                                                                   Fuentes, Mary Hanizel Agaza                                                                       Chapter 7
                                                                                                              Debtor(s)

                                                                                                  CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                                                                                      UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                                                                    Certificate of [Non-Attorney] Bankruptcy Petition Preparer

                                                                   I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the attached
                                                                   notice, as required by § 342(b) of the Bankruptcy Code.


                                                                   Printed Name and title, if any, of Bankruptcy Petition Preparer                                  Social Security number (If the bankruptcy
                                                                   Address:                                                                                         petition preparer is not an individual, state
                                                                                                                                                                    the Social Security number of the officer,
                                                                                                                                                                    principal, responsible person, or partner of
                                                                                                                                                                    the bankruptcy petition preparer.)
                                                                                                                                                                    (Required by 11 U.S.C. § 110.)
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                                                                   X
                                                                   Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or
                                                                   partner whose Social Security number is provided above.

                                                                                                                          Certificate of the Debtor

                                                                   I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.



                                                                   Fuentes, Mary Hanizel Agaza                                            X                                                            9/11/2018
                                                                   Printed Name(s) of Debtor(s)                                               Signature of Debtor                                           Date


                                                                   Case No. (if known)                                                    X
                                                                                                                                              Signature of Joint Debtor (if any)                            Date


                                                                   Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                                                                   Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                                                                   NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor’s
                                                                   attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on
                                                                   page 3 of Form B1 also include this certification.
                Case 2:18-bk-20553-BR                               Doc 1 Filed 09/11/18 Entered 09/11/18 09:58:49                                                           Desc
                                                                    Main Document    Page 57 of 61
              Fill in this information to identify your case:

 Debtor 1                   Mary Hanizel Agaza Fuentes
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


                                                          CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES
 United States Bankruptcy Court for the:                  DIVISION

 Case number
 (if known)
                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $             380,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $              61,600.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $             441,600.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A,Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                         $             270,717.84

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of
                                                                                       Schedule E/F.................................                                 $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of
                                                                                          Schedule E/F............................                                   $             111,879.03


                                                                                                                                     Your total liabilities $                   382,596.87


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 ofSchedule I................................................................................                  $                3,784.59

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $                3,849.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?


               Your debts are primarily consumer debts. Consumer debts are those “         incurred by an individual primarily for a personal, family, or household
                purpose.”11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C.§ 159.

           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
            court with your other schedules.
 Official Form 106Sum            Summary of Your Assets and Liabilities and Certain Statistical Information                         page 1 of 2
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             Case 2:18-bk-20553-BR                          Doc 1 Filed 09/11/18 Entered 09/11/18 09:58:49                              Desc
                                                            Main Document    Page 58 of 61
 Debtor 1     Fuentes, Mary Hanizel Agaza                                                    Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $     6,674.32


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                          Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                    $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                           $                 0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                 $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                  $            33,542.03

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                                $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)             +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                            $             33,542.03




Official Form 106Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information                     page 2 of 2
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        B201 - Notice of Available Chapters (Rev. 06/14)                                                                 USBC. Central District of California


        Name: Law Office Of Stanley D. Bowman

        Address: 700 N Pacific Coast Hwy Ste 202A

        Redondo Beach, CA 90277-2167                  ---------_       __ ._-_._--
                                                                      ..


        Telephone:                                _    Fax: ......

        ~ Attorney for Debtor
        D Debtor    in Pro Per


                                               UNITED STATES BANKRUPTCY COURT
                                                CENTRAL DISTRICT OF CALIFORNIA
         List all names including trade names, used by                Case No.:
         Debtor(s) within last 8 years:
         Fuentes, Mary Hanizel Agaza


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                                                                           (Notice to Individual Consumer Debtor Under   § 342(b)   of the Bankruptcy Code)

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        1.   Services Available from Gredit CQunseling Ag_encies

             With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
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                Case 2:18-bk-20553-BR                    Doc 1 Filed 09/11/18 Entered 09/11/18 09:58:49                         Desc
                                                         Main Document    Page 60 of 61
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      2.   The Four Chapters of the Bankruptcy              Code Available to Individual   Consumer    Debtors

           Chapter 7: Liquidation        ($245 filing fee, $75 administrative   fee, $15 trustee surcharge:      Total fee $335)

           1.    Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
                 whose debts are primarily consumer debts are subject to a "means test" designed to determine whether the case
                 should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
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           2.    Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right
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           3.    The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
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           4.    Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may
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§          ej1_ruljer_1~:Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee, $75
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(3
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'"
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               long term secured obligations.
ec
~          eb~pt~r_tt: Reorganization ($1167 filing fee, $550 administrative fee: Total fee $1717)
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           Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are
           quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

           Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total fee $275)
           Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future
           earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income
           arises primarily from a family-owned farm or commercial fishing operation.

      3.   Bankruptcy     Crimes and A~ailability_ of Bankruptcy         Papers to Law Enforcement      Officials

           A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury,
           either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information
           supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through
           the Office of the United States Trustee, the Office of the United States Attorney, and other components and employees
           of the Department of Justice.

      WARNING: Section 521 (a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
      creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
      information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
      rules of the court.
                 Case 2:18-bk-20553-BR                      Doc 1 Filed 09/11/18 Entered 09/11/18 09:58:49                       Desc
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         B201 - Notice of Available Chapters (Rev. 06/14)                                                       USBC, Central District of California

                                              Certificate of [Non-Attorney] Bankruptcy Petition Preparer

         I, the [non-attorney] bankruptcy petition preparer signing the debtor's petition, hereby certify that I delivered to the debtor this
         notice required by § 342(b) of the Bankruptcy Code.


         Printed Name and title,        any, of Bankruptcy Petition Preparer         Social Security number (if the bankruptcy petition
         Address:                                                                    pre parer is not an individual, state the Social Security
                                                                                     number of the officer, principal, responsible person,
                                                                                     or partner of the bankruptcy petition preparer.)
                                                                                     (Required by 11 U.S.C. § 110.)
         x                                                                      _
         Signature of Bankruptcy Petition Preparer or officer, principal,
         responsible person, or partner whose Social Security number is
         provided above.



                                                                  Certificate of the Debtor

         I (We), the debtor(s), affirm that I (we) have received and read this notice.

I:::
         Fuentes, Mary Hanizel Agaza
aE
8
         Printed Name(s) of Debtor(s)


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"''"c.
         Case No. (If known)                                 _
                                                                                      x_~--~~~--~--~------------
                                                                                      Signature of Joint Debtor (if any) Date
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